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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM

Honorable Kimberly J. Mueller                RE: Fernando Lopez Gonzalez
United States District Judge                     Docket Number: 0972 2:11CR00356-5
Sacramento, California                           RECALL OF ARREST WARRANT

Your Honor:

On April 12, 2017, an arrest warrant was issued on Fernando Lopez Gonzalez for violations of a
New Law Violation and Illegal Reentry After Deportation. On April 18, 2017, an officer
assigned to the U.S. Marshal Fugitive Task Force reported his investigation of the individual
identified in the new law violation in El Dorado County, identified as Fernando Lopez Gonzales,
is not the same individual as noted in the Court’s issued arrest warrant involving the above
reference individual. Though the names are similar, the officer reported identifying information,
specifically, the Federal Bureau of Investigation number; Immigration and Customs Enforcement
Alien Number; photographs; and personal identifiers; all indicated the two individuals are
positively not the same person.


Given this investigative information provided by the USM Fugitive Task Force officer, it is
respectfully requested and recommended the warrant for arrest issued by the Court in this matter,
docket 2:11CR00356-02, be withdrawn.




                                                                                        REV. 03/2017
                                                                           MEMO_COURT W ORDER.DOTX
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RE:      Fernando Lopez Gonzalez
         Docket Number: 0972 2:11CR00356-5
         RECALL OF ARREST WARRANT


                                      Respectfully submitted,




                                      GEORGE A. VIDALES
                                      Supervising United States Probation Officer




Dated:     May 9, 2017
           Sacramento, California




                                    ORDER OF THE COURT

           ☒      Approved
                                  ☐         Disapproved



 May 11, 2017
 Date                                                 UNITED STATES DISTRICT JUDGE


Attachment(s)

cc:      Heiko Coppola
         Assistant United States Attorney




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                                                                                         REV. 03/2017
                                                                            MEMO_COURT W ORDER.DOTX
